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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF COLORADO

  Civil Action No. 21-cv-02145-CMA-KAS

  WELL MASTER CORPORATION,
  a Colorado Corporation,

        Plaintiff,

        v.

  FLOWCO PRODUCTION SOLUTIONS, LLC
  a Texas Limited Liability Company,

        Defendant.



                                   EXHIBIT E TO

                     DEFENDANT’S MOTION FOR SANCTIONS
                     FOR VIOLATION OF PROTECTIVE ORDER
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Frank Porada

From:                Ben Lieb <ben@taluslaw.com>
Sent:                Friday, August 25, 2023 8:48 AM
To:                  Adam Yowell
Cc:                  Frank Porada
Subject:             Re: Well Master Corporation v. Flowco Production Solutions, LLC, USDC, District of Colorado, Case
                     No. 21cv2145-CMA-KAS


Adam,

Your email over simplifies what I said regarding the subpoenas and preservation letters. My point overall was that
Flowco did not provide fair notice that it considered the mere identity of the ten customers to be designated
confidential attorney’s eyes only information. Flowco had already admitted that Well Master knew the names of
Flowco’s customers and all of those customers are also Well Master customers. I do not agree that Flowco properly
designated the names of these ten customers as confidential attorney’s eyes only information. But it is true that Well
Master was provided with copies of the subpoenas and preservation letters.

Thanks

Benjamin B. Lieb
TALUS LAW GROUP LLC
Intellectual Property Counselors
303.246.4767
www.taluslaw.com




On Aug 24, 2023, at 8:30 PM, Adam Yowell <Adam.Yowell@FisherBroyles.com> wrote:


Ben,

I wanted to recap our discussion from today. Regarding our August 17 letter, we
discussed the information that was provided to your client and letters that were sent to
Flowco customers. You stated that you sent preservation letters to all ten of the customers
Flowco identified in the special discovery ordered by the Court, which was marked AEO
under the protective order. You further stated that Well Master was provided with copies of
all of those preservation letters, as well as the three deposition subpoenas. Based on this,
we will proceed with filing a motion for sanctions, which Well Master opposes.

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On the topic of the supplemental response to your reply, Doc. # 152, we agreed to share a
draft of the supplemental response we intend to file. The parties will then try to agree on a
joint response that includes both parties’ positions.

Adam


Adam Yowell
Partner
_____________________________________________
FisherBroyles, LLP
530 Lytton Avenue, Second Floor | Palo Alto, CA 94301 | USA
direct: +1.775.230.7364
adam.yowell@fisherbroyles.com

www.fisherbroyles.com

From: Ben Lieb <ben@taluslaw.com>
Sent: Tuesday, August 22, 2023 2:35 PM
To: Adam Yowell <Adam.Yowell@FisherBroyles.com>
Cc: Frank Porada <frank.porada@FisherBroyles.com>
Subject: Re: Well Master Corporation v. Flowco Production Solutions, LLC, USDC, District of Colorado, Case No.
21cv2145‐CMA‐KAS

If you can’t wait until next week, I have a 20 minute window at 5:30 on Thursday.

Benjamin B. Lieb
TALUS LAW GROUP LLC
303.246.4767
www.taluslaw.com




        On Aug 22, 2023, at 9:12 AM, Adam Yowell <Adam.Yowell@fisherbroyles.com> wrote:


        Ben,

        The conferral is regarding what certainly appears to be a protective order violation that involves a
        competitor gaining access to our trade secret material. It is unreasonable for you to refuse to meet and
        confer for 15 days. You gave two windows, I accepted both, and now you have retracted both. Provide a
        time this week that you can meet and confer.

        On another issue, your reply ISO motion to exclude introduces new arguments not in your original
        motion. In particularly, you argue for the first time that we were required to file a motion for leave to
        amend our invalidity contentions. As you know, you did not file any such motion when you
        supplemented your infringement contentions. We wish to confer about a motion to strike or
        alternatively a motion for supplemental response to address this point. In view of your scheduling
        concerns, this matter can be discussed on a different call at a later time.

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  Adam

  Adam Yowell
  Partner
  _____________________________________________
  FisherBroyles, LLP
  530 Lytton Avenue, Second Floor | Palo Alto, CA 94301 | USA
  direct: +1.775.230.7364
  adam.yowell@fisherbroyles.com

  www.fisherbroyles.com

  From: Ben Lieb <ben@taluslaw.com>
  Sent: Tuesday, August 22, 2023 7:54 AM
  To: Adam Yowell <Adam.Yowell@FisherBroyles.com>
  Cc: Frank Porada <frank.porada@FisherBroyles.com>
  Subject: Re: Well Master Corporation v. Flowco Production Solutions, LLC, USDC, District of Colorado,
  Case No. 21cv2145‐CMA‐KAS

  This Thursday no longer works for my schedule in view of the new deadline to respond to the partial
  motion to dismiss. I am wide open on August 31 if you want to propose a time for that day.

  Thanks

  Benjamin B. Lieb
  TALUS LAW GROUP LLC
  303.246.4767
  www.taluslaw.com




           On Aug 18, 2023, at 4:15 PM, Adam Yowell <Adam.Yowell@fisherbroyles.com> wrote:

            Thursday at 1 works. Please confirm that still works for you and I'll update the previous
           invite.

           From: Ben Lieb <ben@taluslaw.com>
           Sent: Friday, August 18, 2023 3:02:27 PM
           To: Adam Yowell <Adam.Yowell@FisherBroyles.com>
           Cc: Frank Porada <frank.porada@FisherBroyles.com>
           Subject: Re: Well Master Corporation v. Flowco Production Solutions, LLC, USDC, District
           of Colorado, Case No. 21cv2145‐CMA‐KAS

           Apologies. I just realized my Tuesday is full already. Would some time in the Thursday
           window work?

           Benjamin B. Lieb
           TALUS LAW GROUP LLC
           303.246.4767
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             On Aug 18, 2023, at 2:50 PM, Adam Yowell
             <Adam.Yowell@fisherbroyles.com> wrote:


             Ben,

             Tuesday at 2 MT works for us. I will circulate a Teams calendar invite.

             Adam

             Adam Yowell
             Partner
             _____________________________________________
             FisherBroyles, LLP
             530 Lytton Avenue, Second Floor | Palo Alto, CA 94301 |
             USA
             direct: +1.775.230.7364
             adam.yowell@fisherbroyles.com

             www.fisherbroyles.com

             From: Ben Lieb <ben@taluslaw.com>
             Sent: Friday, August 18, 2023 1:26 PM
             To: Frank Porada <frank.porada@FisherBroyles.com>
             Cc: Adam Yowell <Adam.Yowell@FisherBroyles.com>
             Subject: Re: Well Master Corporation v. Flowco Production Solutions,
             LLC, USDC, District of Colorado, Case No. 21cv2145‐CMA‐KAS

             Frank,

             I am available next Tuesday 2:00 to 4:30 and Thursday 1:00 to 4:00 to
             discuss your August 17 letter. Please let me know what works for you.

             Thanks

             Benjamin B. Lieb
             TALUS LAW GROUP LLC
             Intellectual Property Counselors
             303.246.4767
             www.taluslaw.com




             On Aug 17, 2023, at 11:57 AM, Frank Porada
             <frank.porada@FisherBroyles.com> wrote:

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             Please see the attached correspondence.

             Frank C. Porada
             Partner
             _____________________________________________
             FisherBroyles, LLP
             1400 16th Street | Suite 400 | Denver, CO 80202 | USA
             Direct: 303.808.4706
             frank.porada@fisherbroyles.com

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             <230817 Letter to Benjamin Lieb.pdf>




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